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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-08-0103 LKK EFB
12             Plaintiff,             )
                                      )       DISCOVERY ORDER
13                                    )
          v.                          )
14                                    )
     JOHN PHILLIP PRUITT and          )
15   DARRYL ANTHONY BERG              )
                                      )
16                                    )
               Defendants.            )
17                                    )
18        This matter came before the Court for a Motion Hearing as to
19   Darryl Anthony Berg, on December 9, 2008.         Attorney John Balazs
20   appeared on behalf of the defendant.       The Court was informed that
21   Mr. Berg has waiver of appearance on file.        Michael M. Beckwith,
22   Assistant U.S. Attorney appeared on behalf of the United States
23   of America.
24        After consideration, the Court granted in part and denied in
25   part the defendant’s motion and ordered the Government to submit
26   a proposed order for review and signature.
27        As to discovery due dates the Court ordered the following:
28   Giglio, Brady and Henthorne material, defendants criminal history

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 1   (“rap sheets”), recent probation search findings, and all expert
 2   witness materials are to be produced 14 days prior to trial.
 3   Notice related to Rule 404(b) of the Federal Rules of Evidence is
 4   due 7 days prior to trial.
 5           IT IS HEREBY ORDERED:
 6           1.   Discovery related to Giglio, Brady and Henthorne
 7   material, defendants criminal history (“rap sheets”), recent
 8   probation search findings, and all expert witness materials will
 9   be produced 14 days prior to trial.
10           2.   Discovery related to Rule 404(b) of the Federal Rules
11   of Evidence will be produced 7 days prior to trial.
12           IT IS SO ORDERED
13   Date:    December 10, 2008.
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